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 1     EDMUND G. BROWN JR.                                HANSON BRIDGETT LLP
       Attorney General of the State of California        JERROLD C. SCHAEFER - 39374
 2     DAVID S. CHANEY                                    PAUL B. MELLO – 179755
       Chief Assistant Attorney General                   S. ANNE JOHNSON – 197415
 3     ROCHELLE C. EAST                                   SAMANTHA D. TAMA – 240280
       Senior Assistant Attorney General                  RENJU P. JACOB - 242388
 4     JONATHAN L. WOLFF                                  425 Market Street, 26th Floor
       Senior Assistant Attorney General                  San Francisco, CA 94105
 5     LISA A. TILLMAN – State Bar No. 126424             Telephone: (415) 777-3200
       Deputy Attorney General                            Facsimile: (415) 541-9366
 6     KYLE A. LEWIS – State Bar No. 201041               jschaefer@hansonbridgett.com
       Deputy Attorney General                            pmello@hansonbridgett.com
 7     455 Golden Gate Avenue, Suite 11000                ajohnson@hansonbridgett.com
       San Francisco, CA 94102-7004                       stama@hansonbridgett.com
 8     Telephone: (415) 703-5708                          rjacob@hansonbridgett.com
       Facsimile: (415) 703-5843
 9     lisa.tillman@doj.ca.gov
       kyle.lewis@doj.ca.gov
10
       Attorneys for Defendants
11

12                                UNITED STATES DISTRICT COURT

13                        FOR THE EASTERN DISTRICT OF CALIFORNIA

14                       AND THE NORTHERN DISTRICT OF CALIFORNIA

15            UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES

16                PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

17

18     RALPH COLEMAN, et al.,                        No. 2:90-cv-00520 LKK JFM P
19                      Plaintiffs,                  THREE-JUDGE COURT
             v.
20
       ARNOLD SCHWARZENEGGER, et al.,
21
                        Defendants.
22                                                   No. C01-1351 TEH
       MARCIANO PLATA, et al.,
23                                                   THREE-JUDGE COURT
                        Plaintiffs,
24           v.                                      DEFENDANTS’ OPPOSITION TO
                                                     PLAINTIFFS’ MOTION IN LIMINE NO. 5
25     ARNOLD SCHWARZENEGGER, et al.,                TO EXCLUDE CERTAIN TESTIMONY OF
                                                     EXPERT GALE BATAILLE
26                      Defendants.
27                                                   To: Three-Judge Panel

28

       DEFS.’ OPP’N TO PLS.’ MIL NO. 5 TO EXCLUDE EXPERT GALE BATAILLE’S
                                                                                         1657203.1
       TESTIMONY (CASE NOS. 90-00520 AND 01-1351)
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 1                                       I.     INTRODUCTION

 2            Defendants oppose Plaintiffs’ motion to exclude testimony of Defendants’ expert

 3     Gale Bataille. Plaintiffs wrongfully seek to exclude “[a]ny testimony regarding the

 4     adverse impact of a prisoner release order on public safety;” “[a]ny testimony regarding

 5     intergovernmental disputes within the state of California regarding the funding of

 6     community mental health system;” and “[a]ny testimony regarding the adverse impact of

 7     a prisoner release order on the operation of a criminal justice system.” (Pls.’ MIL No. 5,

 8     18:9-11,15-17, and 19:3-4.)

 9            Ms. Bataille worked as an upper level manager in three California county mental

10     health systems for 27 years, including holding the position of Mental Health Director in

11     two Bay Area counties for over 17 years. She has held active leadership roles in the

12     California Mental Health Directors Association, including serving as President and on the

13     Governing Board and most recently as Chair of the Forensic Committee. She is

14     unquestionably an expert in community mental health in the State of California, and

15     Plaintiffs do not challenge Ms. Bataille’s qualifications or expertise in this area. Ms.

16     Bataille’s opinion regarding the adverse impact of a prisoner release order on public

17     safety is based on her substantial experience and training in mental health and relates to

18     her knowledge that currently there are not sufficient community mental health services to

19     serve the general public, much less the needs of former prisoners.

20            Because of the current lack of community services to meet the existing level of

21     need, if the population of former prisoners is increased, community mental health

22     services do not exist to serve their needs and to help prevent and reduce recidivism.

23     The absence of needed services poses a problem for former prisoners as well as the

24     communities into which they would be released. Ms. Bataille’s comments regarding a

25     lack of clarity between the Counties and the State regarding responsibility for funding

26     community mental health services go directly to the question of whether the mental

27     health services needed by former prisoners are and will be available in the community.

28     The Court should not exclude this relevant and reliable opinion from consideration at the
                                                   -1-
       DEFS.’ OPP’N TO PLS.’ MIL NO. 5 TO EXCLUDE EXPERT GALE BATAILLE’S
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 1     trial of the very serious question of whether to issue a prisoner release order. See

 2     McKendall v. Crown Control Corp., 122 F.3d 803, 807 (9th Cir. 1997) (holding that non-

 3     scientific expert evidence that is “relevant and reliable” should be admitted).

 4            In addition, Ms. Bataille addresses the impact of mentally ill offenders on the local

 5     criminal justice systems. As explained in her Preliminary Expert Report dated August

 6     15, 2008 and her deposition and further detailed in her declaration submitted herewith,

 7     Ms. Bataille has extensive experience working with issues related to mentally ill

 8     offenders and local criminal justice systems. For example, as the Director of the San

 9     Mateo County Behavioral Health and Recovery Services, Ms. Bataille was involved in
10     successfully applying for and implementing two Mentally Ill Offender Crime Reduction
11     grants dealing with working more effectively with individuals who are released from the
12     County jail. She was an active advocate and participant in designing a Mental Health
13     Court, and providing treatment services to supplement the activities of that court. She
14     represented the County Health Department on the Board of Supervisors' Criminal
15     Justice Committee for a period of time, and was a member of the Reentry Services
16     Planning Committee for several months. In her many years as a County Mental Health
17     Director, Ms. Bataille supervised direct service to individuals who were criminal-justice-
18     involved at the local level. (See Bien Decl., Ex. L (Prelim. Rep.) at p. 25; Decl. Mello
19     Supp. Defs.’ Opp’n to Pls. Mot. In Limine No. 5, Exh. A (Bataille Dep.), at 35:5-36:16,
20     103:7-25; Bataille Decl., ¶¶2-6.)

21            As an undisputed expert in the area of community mental health in the State of

22     California, Ms. Bataille provides an important knowledge base and viewpoint essential to

23     assisting the trier of fact in determining whether a prisoner release order should issue.

24     Her opinions should be considered in their entirety, and not excluded.

25                                         II.    ARGUMENT
26     A.     Ms. Bataille Is Qualified To Opine On The Availability Of Needed Mental
              Health Services To Former Inmates And Her Opinions Are Appropriately
27            Based On Her Experience And Training.
28            Federal Rule of Evidence 702 allows for the admission of testimony by a witness
                                                   -2-
       DEFS.’ OPP’N TO PLS.’ MIL NO. 5 TO EXCLUDE EXPERT GALE BATAILLE’S
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 1     with “scientific, technical, or other specialized knowledge [that] will assist the trier of fact

 2     to understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702. A

 3     witness may be “qualified as an expert by knowledge, skill, experience, training, or

 4     education.” Id. (emph. added). The Ninth Circuit has made clear that it is improper to

 5     exclude an expert’s testimony where it is “based on his specialized knowledge acquired

 6     through his vast experience.” McKendall, 122 F.3d at 807, citing Thomas v. Newton Int'l

 7     Enters., 42 F.3d 1266, 1270 n.3 (9th Cir. 1994). The Ninth Circuit has also explained:

 8                   ‘[A]pplication of the Daubert factors is unwarranted in cases
                     where expert testimony is based solely upon experience or
 9                   training. . . . In such cases, Rule 702 merely requires the trial
                     court to make a preliminary finding that proffered expert
10                   testimony is both relevant and reliable while taking into
                     account 'the inquiry envisioned by Rule 702 is . . . a flexible
11                   one.’
12     Id., quoting Compton v. Subaru of America, Inc., 82 F.3d 1513, 1518-19 (10th Cir. 1996).
13            It is undisputed that Ms. Bataille is an expert in community mental health services
14     in the State of California. Her qualifications are set forth in her Preliminary Expert
15     Report, dated August 15, 2008, and further described in her deposition and declaration
16     submitted herewith. (See Bien Decl., Ex. L (Prelim. Rep.) at p. 25; Decl. Mello Supp.
17     Defs.’ Opp’n to Pls. Mot. In Limine No. 5, Exh. A (Bataille Dep.), at 35:5-36:16, 103:7-25;
18     Bataille Decl., ¶¶2-6.) Ms. Bataille has a Masters Degree in Social Work from San
19     Francisco State University and worked as an upper level manager in three California
20     County Mental Health Systems from 1981 to 2008, including holding the position of

21     Mental Health Director in two Bay Area counties for over 17 years. She has held active

22     leadership positions in the California Mental Health Directors Association, including

23     serving as President and on the Governing Board and most recently as Chair of the

24     Forensic Committee.

25            Ms. Bataille’s opinion that currently there are not sufficient community services to

26     meet the mental health needs of the general population, much less those of former

27     inmates, is not a “scientific” opinion, but one that is based on her substantial experience

28     and training in the field of mental health. As such, it is admissible under well-established
                                                     -3-
       DEFS.’ OPP’N TO PLS.’ MIL NO. 5 TO EXCLUDE EXPERT GALE BATAILLE’S
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       TESTIMONY (CASE NOS. 90-00520 AND 01-1351)
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 1     Ninth Circuit authority. Plaintiffs’ authority regarding the exclusion of purported expert

 2     scientific testimony, including based on the specific standards set forth in Daubert for

 3     scientific testimony, is inapposite.

 4            In addition, Plaintiffs’ claim that Ms. Bataille failed to take into account “the official

 5     state statistics showing that California’s community mental health system has an annual

 6     budget of approximately $6 billion and serves over 650,000 persons per year, over

 7     40,000 of them with 24-hour services” is not accurate or a grounds for exclusion of her

 8     opinion. (Pls.’ MIL No. 5, 21:21-25.) Even assuming that Plaintiffs’ numbers are correct,

 9     Plaintiffs fail to take into account whether the existing budget is sufficient to provide the
10     needed community mental health services and whether the number of persons currently
11     being served includes all of the people among California’s 36.5 million residents who
12     need services. Ms. Bataille is clear in her opinion that, based on her experience and
13     knowledge of the State community mental health systems, the budget is not sufficient
14     and that today not all persons who need services receive them.
15            Ms. Bataille addressed the unmet need in California’s community mental health
16     system in detail in both her August 15th Preliminary Expert Report (see Bien Decl., Ex. L
17     at pp. 9-14, 20) and in her August 27th Rebuttal Report (see Bien Decl., Ex. M at pp. 8-
18     10). These discussions included specific references to evaluative studies on workforce
19     capacity, State Department of Mental Health assessments of unmet need, a report by
20     the California Hospital Association’s Center for Behavioral Health as well as the reports

21     of specific counties on their capacity to meet current service demands of seriously

22     mentally ill Medicaid beneficiaries and indigent populations.

23            Ms. Bataille’s opinion is not mere ipse dixit, as Plaintiffs claim. It is grounded in

24     fact and Ms. Bataille’s substantial experience with community mental health, including

25     service to criminal-justice-involved individuals. Ms. Bataille’s opinions about the impact

26     of a release of prisoners on the community are based, among other things, upon the

27     Coleman Plaintiffs’ proposed immediate release of 15,000 inmates (Decl. Mello Supp.

28     Defs.’ Opp’n to Pls. Mot. In Limine No. 5, Exh. B (Coleman Pls.’ Suppl. Resps. to
                                                     -4-
       DEFS.’ OPP’N TO PLS.’ MIL NO. 5 TO EXCLUDE EXPERT GALE BATAILLE’S
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 1     Schwarzenegger’s First Set of Interrogatories, No.7); Special Master Keating’s

 2     determination that 19 to 20 percent of the prison population has serious mental illness

 3     (Bien Decl., Ex. L (Prelim. Rep.), p. 2); Plaintiffs’ April 17, 2008 supplemental response

 4     to Interrogatory No. 4, which stated that a prisoner release order would need to reduce

 5     the prison population in all of the different categories of the Coleman class, including

 6     Correctional Clinical Case Management System, Enhanced Outpatient, and inpatient

 7     inmates (id.); the higher prevalence of co-occurring mental health and substance abuse

 8     disorders among prisoners (id. at 3); and the finding of the CDCR’s Mental Health

 9     Services Continuum Program’s that parolees with an enhanced outpatient level of need
10     have a higher return rate than Correctional Clinical Case Management System parolees
11     (id. at 8.)
12             Ms. Bataille did not just make up her opinion, as Plaintiffs claim. She based it on
13     claims by Plaintiffs, data from the Coleman Special Master, information about the
14     prevalence of behavioral health issues among inmates, recidivism rates of former
15     inmates with higher levels of mental health needs, and her knowledge regarding the
16     existing gap between community mental health services and community need.
17     Moreover, Plaintiffs’ concerns at best go to the weight, not the admissibility, of Ms.
18     Bataille’s opinion, and Plaintiffs will have ample opportunity to cross-examine her at trial.
19     Ms. Bataille’s opinion is relevant and reliable and meets the broad standard for
20     admissibility for non-scientific opinions established by the Ninth Circuit, and it would be

21     error to exclude it.

22     B.      Information Regarding Funding And Responsibility For Mental Health
               Services To Former Inmates Is Relevant To The Availability Of Services To
23             Former Inmates.
24             Contrary to Plaintiffs’ claim, Ms. Bataille is not “waging a fight” with the State

25     about whether the State or the Counties are responsible for funding and providing

26     community mental health services, including to former inmates. (See Pls.’ MIL No. 5,

27     22:19-23:5.) Ms. Bataille’s discussion of the lack of clarity between the State and the

28     Counties about responsibility for mental health services, the history of State funding of
                                                     -5-
       DEFS.’ OPP’N TO PLS.’ MIL NO. 5 TO EXCLUDE EXPERT GALE BATAILLE’S
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 1     mental health services, and the opposition of the California State Association of

 2     Counties to a Legislative Analysts’ Office proposal to realign parole and probation

 3     functions directly relates to the existing lack of needed community mental health

 4     services, both for the general population and former inmates. Whether sufficient mental

 5     health services exist to treat prisoners released pursuant to a prisoner release order is

 6     directly relevant to whether a prisoner release order would adversely affect public safety.

 7     If the mental health and substance abuse needs of former inmates are not addressed,

 8     those inmates present a greater likelihood of committing new crimes and threatening

 9     public safety. Based on her substantial experience with community mental health,
10     including its relationship with the State and its interplay with the treatment of criminal-
11     justice-involved individuals, Ms. Bataille explains why necessary mental health services
12     do not currently exist and are not likely to exist in the future.
13     C.     Ms. Bataille Has Experience Regarding The Provision Of Mental Health
              Services To Offenders At The Local Level.
14

15            Plaintiffs take Ms. Bataille’s statement that she is “not the criminal justice system
16     expert” out of context and use it inappropriately. Ms. Bataille is not a “criminal justice
17     system expert” in the sense that she is not a probation officer or parole agent and does
18     not have an opinion or recommendation about what probation or parole would need to
19     do to address the issues presented by a prisoner release order. As described in her
20     Preliminary Report, her deposition, and her declaration submitted herewith, Ms. Bataille

21     does have substantial experience in the interplay between community mental health,

22     offenders, and the criminal justice system. (See Bien Decl., Ex. L (Prelim. Rep.) at p. 25;

23     Decl. Mello Supp. Defs.’ Opp’n to Pls. Mot. In Limine No. 5, Exh. A (Bataille Dep.), at

24     35:5-36:16, 103:7-25; Bataille Decl., ¶¶2-6.)

25            For example, Ms. Bataille was involved in successfully applying for and

26     implementing two Mentally Ill Offender Crime Reduction grants dealing with working

27     more effectively with individuals who are released from the County jail. She was an

28     active advocate and participant in designing a Mental Health Court, and providing
                                                     -6-
       DEFS.’ OPP’N TO PLS.’ MIL NO. 5 TO EXCLUDE EXPERT GALE BATAILLE’S
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 1     treatment services to supplement the activities of that court. She represented the

 2     County Health Department on the Board of Supervisors' Criminal Justice Committee and

 3     was a member of the Reentry Services Planning Committee. In her many years as a

 4     County Mental Health Director, Ms. Bataille supervised direct service to individuals who

 5     were criminal-justice-involved at the local level. (Decl. Mello Supp. Defs.’ Opp’n to Pls.

 6     Mot. In Limine No. 5, Exh. A (Bataille Dep.), at 35:5-36:16, 103:7-25; Bataille Decl., ¶¶2-

 7     6.)

 8            Accordingly, Ms. Bataille has a sufficient basis of knowledge and experience to

 9     address the likely impact of a release of prisoners with mental health needs on the local
10     criminal justice systems.
11                                           CONCLUSION
12            Gale Bataille has almost three decades of experience working in upper
13     management of community mental health services in California. She also has been
14     actively involved in leadership positions with the California Mental Health Directors
15     Association and is familiar with community mental health issues at both the County and
16     State level. Her involvement in community mental health has involved issues directly
17     related to mentally ill offenders and local criminal justice systems, including
18     implementing two Mentally Ill Offender Crime Reduction grants and designing a County
19     Mental Health Court. Ms. Bataille’s opinion is not intended to be “scientific” but is based
20     on her substantial experience and training. Her opinion regarding the impact of a

21     prisoner release order on public safety and the local criminal justice systems is based,

22     among other things, on Plaintiffs’ claims, data from the Coleman Special Master,

23     information about the prevalence of behavioral health issues among inmates, recidivism

24     rates of former inmates with higher levels of mental health needs, and her knowledge

25     ///

26     ///

27     ///

28     ///
                                                   -7-
       DEFS.’ OPP’N TO PLS.’ MIL NO. 5 TO EXCLUDE EXPERT GALE BATAILLE’S
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 1     regarding the existing gap between community mental health services and community

 2     need. Her opinion is relevant and reliable and to exclude it would be improper.

 3     DATED: October 30, 2008                    HANSON BRIDGETT LLP
 4

 5                                            By: /s/ Paul B. Mello
                                                 PAUL B. MELLO
 6                                               Attorneys for Defendants
                                                 Arnold Schwarzenegger, et al.
 7

 8     DATED: October 30, 2008                    EDMUND G. BROWN JR.
                                                  Attorney General of the State of California
 9
10
                                              By: /s/ Kyle A. Lewis
11                                               KYLE LEWIS
                                                 Deputy Attorney General
12                                               Attorneys for Defendants
                                                 Arnold Schwarzenegger, et al.
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